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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No: 24-cr-00251-RMR

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1.    RONALD KING,
2.    VICTOR ROITER,
3.    TINA WELLMAN,
4.    ADAM SHORR,
5.    ROBERT O’SULLIVAN,
6.    BRADLEY EDSON,
7.    JOHN GAUTEREAUX,

      Defendants.


                      ENTRY OF APPEARANCE OF COUNSEL


To:   The clerk of court and all parties of record

      I hereby certify that I am a member in good standing of the bar of this court, and I

appear in this case as counsel for the United States of America.

       DATED at Denver, Colorado this 10th day of October, 2024.

                                         MATTHEW T. KIRSCH
                                         Acting United States Attorney

                                  By:    s/ Bryan Fields
                                         Bryan Fields
                                         Assistant United States Attorney
                                         United States Attorney’s Office
                                         1801 California Street, Suite 1600
                                         Denver, Colorado 80202
                                         Telephone: (303) 454-0100
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                                    Email: bryan.fields3@usdoj.gov
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                               CERTIFICATE OF SERVICE

       I certify that on this 10th day of October, 2024, I electronically filed the foregoing

Entry of Appearance with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to all counsel of record in this case.


                                    By: s/Danielle Storinsky
                                        Legal Assistant
                                        United States Attorney=s Office
